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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

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                                   :
UNITED STATES OF AMERICA           :
                                   :
                                   :
v.                                 :         No. 3:06CR00135(AWT)
                                   :
JEREMIAH SIMONS and                :
TYRONE HENRY                       :
                                   :
------------------------------x


                  ORDER RE DEFENDANTS’ REQUEST FOR
     EVIDENTIARY HEARING ON MOTIONS TO SUPPRESS SECRET RECORDINGS

       Defendants Jeremiah Simons and Tyrone Henry each filed a

Motion to Suppress Secret Recordings (Doc. Nos. 46 and 38).            At a

status conference held on September 6, 2006, the court requested

that the defendants and the government address the question of

whether the defendants are entitled to an evidentiary hearing on

these motions.    For the reasons set forth below, the defendants’

request for an evidentiary hearing is being denied.

       A defendant who is attempting to suppress evidence does not

automatically have the right to an evidentiary hearing.           Rather,

the defendant “must make a preliminary showing of facts which, if

proved would require the granting of relief.”         U.S. v. Ventura, No.

97 CR. 1251(HB), 1998 WL 186737, at *1 (S.D.N.Y. Apr. 17, 1998);

see also U.S. v. Culotta, 413 F.2d 1343, 1345 (1969) (court is not

required to hold an evidentiary hearing if the appellant’s moving

papers fail to “state sufficient facts which, if proven, would have

required the granting of the relief requested by appellant.”); U.S.

v. Pena, 961 F.2d 333, 339 (2d Cir. 1992) (“[a]n evidentiary

hearing on a motion to suppress ordinarily is required ‘if the
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moving papers are sufficiently definite, specific, detailed, and

nonconjectural to enable the court to conclude that the contested

issues of fact going to the validity of the search are in

question.’”).   This showing must be made through “an affidavit of

an individual with personal knowledge of the relevant facts”, and

the “affidavit must contain allegations that are definite,

specific, detailed and nonconjectural.”       Ventura, 1998 WL 186737,

at *1 (internal citations omitted); see also U.S. v. Vasta, 649

F.Supp. 974, 986 (S.D.N.Y. 1986) (defendant must produce an

affidavit which is based on personal knowledge in order to raise an

issue of fact as to the validity of [a seizure]); U.S. v. Wallace,

No. 97 CR. 975(RWS), 1998 WL 401534, at *10 (S.D.N.Y. July 17,

1998) (“a court need not resolve factual disputes presented by the

moving papers absent a supporting affidavit of someone with

personal knowledge of the underlying facts.”).

      Here, the defendants have failed to make the requisite

preliminary showing.    Henry asserts that he “has reason to believe

that the cooperating witness did not consent to the secret

recordings.”    Memorandum in Support of Evidentiary Hearing on

Motion to Suppress Secret Recordings by Tyrone Henry (“Henry’s

Memorandum”) (Doc. No. 53), at ¶ 3.      This belief is based upon the

government’s alleged failure to meet its burden of proof with

regard to the voluntariness of the cooperating witness’s consent.

Id.   In Wallace, the defendant asserted that where a witness

provided information to the government and the witness’s identity

was never disclosed, the witness “very likely never existed.”               1998

WL 401534, at *10.     The court found that such an inference was

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merely “suspicion and conjecture” and that a hearing was not

required.   Id.    Similarly, Henry and Simons offer no factual

evidence to support their contention.       Neither defendant produces

affidavits based on personal knowledge which raise issues of fact

as to the cooperating witness’s consent.       Rather, they rely on

unsworn, conjectural statements, and this is insufficient to

entitle the defendants to an evidentiary hearing on this issue.

     Henry correctly points out that the government bears the

burden of demonstrating that the witness’s consent to the recording

was voluntary.     See, e.g., U.S. v. Kolodziej, 706 F.2d 590, 593

(5th Cir. 1983).    However, the fact that the government must prove

consent by a preponderance of the evidence before the evidence is

admissible at trial does not mean that the defendants are entitled

to an evidentiary hearing on the issue of consent.

     Accordingly, the defendants’ request for an evidentiary

hearing is hereby DENIED.     The court will issue a separate order

with respect to the defendants’ motions to suppress the “secret

recordings”.

     It is so ordered.

     Dated this 28th day of September 2006 at Hartford,

Connecticut.



                                          /s/AWT
                                        Alvin W. Thompson
                                  United States District Judge




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